Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 1 of 32




                             Declaration of
                         Elizabeth McNamara
                               Exhibit 137
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 2 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 3 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 4 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 5 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 6 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 7 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 8 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 9 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 10 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 11 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 12 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 13 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 14 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 15 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 16 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 17 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 18 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 19 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 20 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 21 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 22 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 23 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 24 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 25 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 26 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 27 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 28 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 29 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 30 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 31 of 32
Case 5:21-cv-00056-LGW-BWC Document 136-139 Filed 12/19/23 Page 32 of 32
